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                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA                      )
                                              )               Case No. 22-cr-15
v.                                            )
                                              )
KENNETH HARRELSON,                            )
                                              )
       Defendant.                             )


        ORDER GRANTING DEFENDANT’S MOTION FOR GOVERNMENT TO TURN
        OVER INVESTIGATIONS FILES AND OTHER INFORMATION, TO PROVIDE
         ASSISTANCE NECESSARY TO IDENTIFY WITNESSES AND REVIEW FILES
        FOR BRADY INFORMATION AND TO FACILITATE WITNESS ASSESSMENT,
                 TRIAL PREPARATION AND SERVICE OF SUBPOENAS




       The Government will review Attachment 1 and will assist the Defense in

identifying material witnesses referenced therein to the extent practicable that are partially

identified and turn over all information necessary to identify and subpoena these material

witnesses. This includes:

              1) Name and aliases

              2) Address

              3) Phone Numbers including cellphone numbers

              4) Email addresses

              5) Driver License (s) and full Passport(s) scans




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      The Government shall also supplement its discovery obligations for Attachment 1

material witnesses to also include:

              1)      Information held by any and all US government investigative

agencies (inside and outside the US Department of Justice), wherever maintained,

including all state agency or investigative files maintained of any type, including military

files or security clearance files that are maintained that would reflect any relationship

between Attachment 1 material witnesses and government agencies, including files held by

Bureau of Prisons (BOP), Pre-trial services (PTS) and Probation Offices.

              2)      From 2016 forward, the Government shall supplement its discovery

return with any information in the government’s possession (or held by any third-party)

information that refers or relates to these individuals, including documents that they were

acting as sources, agents or informants (paid or unpaid), whether or not the individual

received financial compensation, to include all communications, meetings, movements,

financial transactions, and/or reports.

              3)      From May, 2020 to present all raw investigation files including

subpoena returns, search warrant returns, voluntary submissions or submissions from

informants or other investigative agencies, any and all information regarding

communications (email, text, chats, wire and wireless), movement (geo-fencing, toll

records, and movement or location information), travel information (transportation, hotel,

etc.) and any financial information.

              4)      Government shall use best efforts to provide the mutually agreeable

defense counsel and or inside expert to assist with access to its geofencing data bases and
                                                  2
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facial recognition databases.




       SO ORDERED this _____ day of __________, 2022.




                                      _____________________________________
                                      THE HONORABLE AMIT P. MEHTA
                                      United States District Judge




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 5, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District of
Columbia.

                                                             /s/ Brad Geyer
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